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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN

                                             :
Chase Christopher Rose,                      :
                                             : Civil Action No.: ______
                     Plaintiff,              :
      v.                                     :
                                             :
Ally Financial, Inc.,                        : DEMAND FOR JURY TRIAL
                                             :
                     Defendant.              :
                                             :
                                             :

                         COMPLAINT & JURY DEMAND

      For this Complaint, Plaintiff, Chase Christopher Rose, by undersigned

counsel, states as follows:

                                   JURISDICTION
      1.     This action arises out of Defendant’s repeated violations of the

Telephone Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”).

      2.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in

that Defendant transacts business in this District and a substantial portion of the

acts giving rise to this action occurred in this District.

                                       PARTIES
      3.     Plaintiff, Chase Christopher Rose (“Plaintiff”), is an adult individual

residing in Eugene, Oregon, and is a “consumer” as the term is defined by 15

U.S.C. § 1692a(3).
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                                       FACTS
      4.     In or around May 2017, Ally began calling Plaintiff’s cellular

telephone, number 714-xxx-0696, using an automatic telephone dialing system

(“ATDS”).

      5.     Plaintiff does not know how Ally acquired his cellular telephone

number.

      6.     Plaintiff did not provide prior express consent to Ally to place calls to

his cellular telephone number.

      7.     When Plaintiff answered calls from Ally, he heard silence and had to

wait on the line before he was connected to the next available representative.

      8.     Shortly after the calls began, Plaintiff informed Ally that it was

dialing the wrong number.

      9.     Nevertheless, Ally continued to place automated calls to Plaintiff’s

cellular telephone number.

      10.    Ally’s calls directly interfered with Plaintiff’s right to peacefully

enjoy a service for which he paid, and caused Plaintiff a significant amount of

anxiety, frustration and annoyance.
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                          COUNT I
VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT –
                    47 U.S.C. § 227, et seq.
          11.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          12.   At all times mentioned herein, Defendant called Plaintiff’s cellular

telephone number using an ATDS or predictive dialer.

          13.   In expanding on the prohibitions of the TCPA, the Federal

Communications Commission (“FCC”) defines a predictive dialer as “a dialing

system that automatically dials consumers’ telephone numbers in a manner that

“predicts” the time when a consumer will answer the phone and a [representative]

will be available to take the call…”2003 TCPA Order, 18 FCC 36 Rcd 14022. The

FCC explains that if a representative is not “free to take a call that has been placed

by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or a

dial tone, causing frustration.” Id. In addition, the TCPA places prohibitions on

companies that “abandon” calls by setting “the predictive dialers to ring for a very

short period of time before disconnecting the call; in such cases, the predictive

dialer does not record the call as having been abandoned.” Id.

          14.   Defendant’s telephone system(s) have some earmarks of a predictive

dialer.
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      15.    When Plaintiff answered calls from Defendant, he heard silence

before Defendant’s telephone system would connect him to the next available

representative.

      16.    Defendant’s predictive dialers have the capacity to store or produce

telephone numbers to be called, using a random or sequential number generator.

      17.    The telephone number called by Defendant was assigned to a cellular

telephone serviced by Sprint for which Plaintiff incurs charges pursuant to 47

U.S.C. § 227(b)(1).

      18.    Plaintiff was annoyed, harassed and inconvenienced by Defendant’s

continued calls.

      19.    The calls from Defendant to Plaintiff were not placed for “emergency

purposes” as defined by 47 U.S.C. § 227(b)(1)(A)(i).

      20.    Plaintiff is entitled to an award of $500.00 in statutory damages for

each call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      21.    Plaintiff is entitled to an award of treble damages in an amount up to

$1,500.00 pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                               PRAYER FOR RELIEF
      WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                   1. Statutory damages of $500.00 for each violation determined to be

                      negligent pursuant to 47 U.S.C. § 227(b)(3)(B);
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               2. Treble damages for each violation determined to be willful and/or

                  knowing pursuant to 47 U.S.C. § 227(b)(3)(C); and

               3. Such other and further relief as may be just and proper.

             TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 27, 2018
                                      Respectfully submitted,

                                      By: /s/ Sergei Lemberg, Esq.
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